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                                       10
                                       11                       UNITED STATES DISTRICT COURT
                                       12                      CENTRAL DISTRICT OF CALIFORNIA
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                                            LUCY ULIKHANOVA, et al.,                      Case No. 2:17-CV-9193-FMO-E
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                                                              Plaintiffs,                 Hon. Fernando M. Olguin (Dist. Judge)
                                       15
                                                        v.                                ORDER APPROVING JOINT STIPULATION
                                       16                                                 [69] TO CONTINUE ALL PENDING DATES
                                            COUNTY OF LOS ANGELES, et al.,                BY FOUR MONTHS
                                       17
                                                              Defendants.                 Complaint Filed: December 28, 2017
                                       18                                                 FAC Filed: April 19, 2018
                                                                                          SAC Filed: May 18, 2018
                                       19                                                 TAC Filed: July 2, 2018

                                       20   TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:

                                       21         Having reviewed the Joint Stipulation to Continue All Pending Dates by Four

                                       22   Months, the Court orders the following:

                                       23         a. the mediation cutoff is continued from December 31, 2018 to April 22,

                                       24            2019;

                                       25         b. the fact discovery cutoff is continued from December 31, 2018 to April 22,

                                       26            2019;

                                       27         c. the filing deadline for summary judgment or other potentially dispositive

                                       28            motions is continued from January 31, 2019 to May 23, 2019;
                                                                                      1
                                                              ORDER ENTERING JOINT STIPULATION TO CONTINUE ALL PENDING DATES
                                                                                                  Case No. 2:17-CV-9193-FMO-E
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                                       1         d. the deadline to file memoranda of contentions of fact and law, witness
                                       2            lists, the Pretrial Exhibit Stipulation, and joint motions in limine is
                                       3            continued from March 22, 2019 to July 12, 2019;
                                       4         e. the deadline to file Pretrial Conference Order, Joint Jury Instructions,
                                       5            Disputed Jury Instructions, a joint proposed verdict form, a joint statement
                                       6            of the case, proposed additional voir dire questions, if desired, and reply
                                       7            memoranda to motions in limine is continued from March 29, 2019 to July
                                       8            19, 2019;
                                       9         f. the deadline to file final pretrial conference and last day for hearings on
                                       10           motions in limine is continued from April 12, 2019 to August 2, 2019 at
                                       11           10:00 a.m.; and
                                       12        g. trial is continued from April 30, 2019 to August 20, 2019 at 8:45 a.m.
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                                       13           All other deadlines remain in effect.
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                                       15   IT IS SO ORDERED.
                                       16   November 27, 2018                                            /s/

                                       17                                                  Honorable Fernando M. Olguin,
                                                                                            United States District Judge
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                                                             ORDER ENTERING JOINT STIPULATION TO CONTINUE ALL PENDING DATES
                                                                                                 Case No. 2:17-CV-9193-FMO-E
